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 1   Lesley E. Weaver (SBN 191305)
     BLEICHMAR FONTI & AULD LLP
 2   555 12th Street, Suite 1600
 3   Oakland, CA 94607
     Tel.: (415) 445-4003
 4   Fax: (415) 445-4020
     lweaver@bfalaw.com
 5
     Derek W. Loeser (admitted pro hac vice)
 6   KELLER ROHRBACK LLP
 7   1201 Third Avenue, Suite 3200
     Seattle, WA 98101
 8   Tel.: (206) 623-1900
     Fax: (206) 623-3384
 9   dloeser@kellerrohrback.com
10
     Plaintiffs’ Co-Lead Counsel
11

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13

14   IN RE: FACEBOOK, INC., CONSUMER PRIVACY MDL No. 2843
     USER PROFILE LITIGATION
15                                           Case No. 18-md-02843-VC
                                                 PROOF OF SERVICE
16   THIS DOCUMENT RELATES TO:
     ALL ACTIONS                                 Judge: Hon. Vince Chhabria
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 1                                            PROOF OF SERVICE

 2          I, Matthew S. Weiler, declare that I am over the age of eighteen (18) and not a party to the

 3   entitled action. I am an attorney at the law firm of BLEICHMAR FONTI & AULD LLP, and my

 4   office is located at 555 12th Street, Suite 1600, Oakland, CA 94607.

 5          On September 21, 2018, I served true and correct copies at the addresses listed below, via

 6   U.S. mail and electronic mail:

 7              1. CO-LEAD COUNSEL’S ADMINISTRATIVE MOTION TO CONSIDER

 8                  WHETHER CASES SHOULD BE RELATED PURSUANT TO LOCAL

 9                  RULE 3-12

10              2. DECLARATION           OF    LESLEY        E.   WEAVER        IN   SUPPORT        OF

11                  ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES

12                  SHOULD BE RELATED

13              3. [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO

14                  CONSIDER WHETHER CASES SHOULD BE RELATED

15
           Shana E. Scarlett (SBN 217895)                               FACEBOOK, INC.
16     HAGENS BERMAN SOBOL SHAPIRO LLP                                    1 Hacker Way
17          715 Hearst Avenue, Suite 202                               Menlo Park, CA 94025
                Berkeley, CA 94710
18             shanas@hbsslaw.com

19    Attorneys for Plaintiffs Scott McDonnell, Tabell
               Holsinger, and James Tronka
20

21

22

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24          I declare under penalty of perjury and the laws of the United States that the foregoing is
25   true and correct.
26                                             /s/ Matthew S. Weiler
27                                              Matthew S. Weiler
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                                                                                      PROOF OF SERVICE
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